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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 JANE DOE 1, JANE DOE 2, JANE DOE 3,               )
 JANE DOE 4, and JANE DOE 5,                       )
                                                   )
         Plaintiffs,                               )      Civil Action No. 17-cv-1597 (CKK)
                                                   )
                         v.                        )
                                                   )
 DONALD J. TRUMP, in his official capacity as )
 President of the United States; JAMES N.          )
 MATTIS, in his official capacity as Secretary of )
 Defense; JOSEPH F. DUNFORD, JR., in his           )
 official capacity as Chairman of the Joint Chiefs )
 of Staff; the UNITED STATES DEPARTMENT )
 OF THE ARMY; RYAN D. MCCARTHY, in                 )
 his official capacity as Secretary of the Army;   )
 the UNITED STATES DEPARTMENT OF                   )
 THE AIR FORCE; HEATHER A. WILSON, in )
 her official capacity as Secretary of the Air     )
 Force; the UNITED STATES COAST GUARD; )
 ELAINE C. DUKE, in her official capacity as       )
 Secretary of Homeland Security; and the           )
 UNITED STATES OF AMERICA,                         )
                                                   )
         Defendants.
                                                   )

              MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE

       Pursuant to Civil Local Rule 83.2(d), Kevin M. Lamb moves for the admission and

appearance of attorney Alan E. Schoenfeld pro hac vice in the above-entitled action. This

motion is supported by the Declaration of Alan E. Schoenfeld, which is filed herewith.

Dated: August 30, 2017               Respectfully submitted,

                                     /s/ Kevin M. Lamb
                                     Kevin M. Lamb (D.C. Bar No. 1030783)
                                     WILMER CUTLER PICKERING HALE & DORR LLP
                                     1875 Pennsylvania Avenue NW
                                     Washington, D.C. 20006
                                     Phone: (202) 663-6000
                                     Fax: (202) 663-6363
                                     Attorney for Plaintiffs
          Case 1:17-cv-01597-CKK Document 8 Filed 08/30/17 Page 2 of 2



                                 CERTIFICATE OF SERVICE

        I hereby certify that, on this 30th day of August, 2017, a true and correct copy of the
foregoing Motion for Admission of Attorney Alan E. Schoenfeld Pro Hac Vice has been served
on the following parties via first class mail:

DONALD J. TRUMP
The White House                                     UNITED STATES DEPARTMENT OF
1600 Pennsylvania Ave. NW                           THE AIR FORCE
Washington, D.C. 20500                              1670 Air Force Pentagon
Telephone: 202-456-1414                             Washington, D.C. 20330
                                                    Telephone: 703-697-6061
JAMES N. MATTIS
1000 Defense Pentagon, Room 3E880                   HEATHER A. WILSON
Washington, D.C. 20301                              1670 Air Force Pentagon
Telephone: 703-692-7100                             Washington, D.C. 20330
                                                    Telephone: 703-697-7376
JOSEPH F. DUNFORD, JR.
9999 Joint Chiefs of Staff Pentagon                 UNITED STATES COAST GUARD
Washington, D.C. 20318                              2703 Martin Luther King Jr. Ave. SE
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UNITED STATES DEPARTMENT OF                         ELAINE C. DUKE
THE ARMY                                            Department of Homeland Security
Office of the Secretary of the Army                 245 Murray Lane SW, Building 410
101 Army Pentagon                                   Washington, D.C. 20528
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RYAN D. MCCARTHY                                    UNITED STATES OF AMERICA
102 Army Pentagon, Room 3E700                       Via Department of Justice
Washington, D.C. 20310                              950 Pennsylvania Ave. NW
Telephone: 703-695-4311                             Washington, D.C. 20530


                                                    /s/ Kevin M. Lamb
                                                    Kevin M. Lamb (D.C. Bar No. 1030783)
